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UNlTED STATES BANKRUPTCY COURT
EASTERN DlS`iRlCT OF NEW YORK

 

------------------------------------------------------- )< cHAP"rER 13
lN REZ CASE NO.: 18-18-72911
NIAR§A DEROSA
DEsToR(s).
_____ _ ____ _ ___________X
CHAPTER 13 PLAN devised 12/19/17

 

iii Checl< this box if this is an amended plan, List below the sections of the plan which have been
changed:

 

PART 1: NOTICES

To Debtors: this form sets out options that may be appropriate in some cases, but the presence of an option on the form
does not indicate that the option ls appropriate in your circumstance or that it is permissible in yourjudiciai district. Plans
that do not comply with the local rules for the Eastern District of i\iew Yorl< may not be conflrmabie. lfyou do not have an
attorney, you may wish to consult one.

To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated You should
read this plan carefully and discuss it with your attorney. if you do not have an attorney, you may wish to consult one.

if you oppose the pian’s treatment of your claim or any provision of this pian, you or your attorney must file an objection
to confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the
Banl<ru ptcy Court. The Banl<ruptcy Court may confirm this plan without further notice if no objection to confirmation is
filed. See Banl<ruptcy Ruie 3015. in addition, you may need to file a timely proof of claim in order to be paid under any
plan.

1.1: The following matters may be of particular importance Debtors must check one box on each line to state
whether or not the plan includes each of the following items. if an item is checked as ”Not included” or if
both or neither boxes are checked, the provision will be ineffective if set out later in the plan.

 

a. A limit on the amount of a secured claim, set out in Seciion 3.4, which may result in l;l included i;] Not included
a partial paymenth no payment at ali to the secured creditor

 

b. Avo|dance ofa judicial lien or nonpossessory, non-purchase-morleysecurityinterest, l;l included l;l Not included
setout in Sectlon 3.6

 

c. Nonstandard provisions, set out in Part 9 l._.l included m Not included

 

 

 

 

 

 

1.2: The following matters are for informational purposes.

 

a. The debtor(s) is seeking to modifya mortgage secured by the debtor(s)'s principal l:] included m Not lnc|uded
residence, set out in Sectlon 3.3

 

b. Unsecured Creditors, set out in Part 5, will receive 100% distribution ofti\e|r timely filed l._.l included El Not included
claim

 

 

 

 

 

 

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PART Z: PLAN PAYlVlENTS AND LENGTH OF PLAN

2.1: The post-petition earnings of the debtor(s) are submitted to the supervision and control of the Trustee
and the Debtor(s) shall pay to the Trustee for a period of 60 months as foilows:

$ 3,473.37 per month commencing 06/01»*2018 through and including carol/2023 for a period of 60
months; and

$ per month commencing through and including for a period of
months.

Continued on attached separate page(s).

2.2: income tax refunds.

if general unsecured creditors are paid less than 100%, in addition to the regular monthly payments, during the
pendency of this case, the Debtor(s) will provide the Trustee with signed copies of filed federal and state tax
returns for each year commencing With the tax year , no later than April 15th of the year fo|iowing the
tax period. indicated tax refunds are to be paid to the Trustee upon receipt, however, no later than lune 15"‘
of the year in which the tax returns are filed.

2.3: Additional payments.

Check one.
iii None. if ”None”ls checked the rest of §2.3 need not be completed
C| Debtor(s) will make additional payment(s) to the Trustee from other sources, as specified below.
Describe the source, estimated amount, and date of each anticipated payment

 

 

PART 3: 'i'REATlV|ENT Ol: SECURED CLAllVlS
3.1: iViaintenance of payments (inciuding the debtor(s)'s principal residence).

Checi'< one.

ill None. if ”None" is checked, the rest of §3.1 need not be completed

Ei Debtor(s) will maintain the current contractual installment payments on the secured claims listed
beiow, with any changes required by the applicable contract and noticed in conformity with any
applicable rules. These payments wii| be disbursed directly by the debtor{s).

 

.: ` __ _j _' LastriDigits of_' . P"i.ncil_)a_| _ _ ._ z -_ `. -_ _ '_ " '-_-_-_- "Currentlnstaiiment
;-_ Name of._Credi_tor -_-j-_Account.. ': R_esi_denc_e__- - .-_-;D_e_s_criptio_n of Co|iateral -Pavtf_i¢iif_iii=€ludins.
' _. '_ ' ' . " " _ `:'Number -' (Check box) _ ' :' . . . _escrow) _

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D

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3.2: Cure of default (including the debtor(s)’s principal residence}.

Check one.

GJ None. if ”None” is checked the rest of §3.2 need not be completed

Cl Any existing arrearage on a listed claim will be paid in full through disbursements by the trustee, with
interest, if any, at the rate stated beiow. Unless otherwise ordered by the court, the amounts listed on
a proof of claim filed before the filing deadline under Bankruptcy Ru|e 3002(€) control over any
contrary amounts listed below. in the absence of a contrary timely filed proof of claim, the amounts
listed below are controlling.

 

__ -_L_a$rt_i_ Prmcipal -- .- _-._ ;_-A`-mo'un'tO'-f .l__,`_'érést:_`“até
;___`i\lan`_ie_o_f__t_§redito_r___._j __-Zj -._-_Dig|t_s of '- _Res_iden_ce ?_' _--f'"."Desc_ript_ion_of §oil_ate__ra_|_- Arréérag-e _-_.-_{i'fan-y)~ _;_
` ""A€CiNO-~ _(checi< box) . ` -'

g _____
Q

 

 

 

 

 

 

 

 

 

 

g Continued on attached separate page(s}.

3.3: Nlodification of a mortgage secured by the debtor(s)'s principal residence.
Check one.
i;l The debtor(s) is not seeking to modify a mortgage secured by the debtor's principal residence.
Ei The debtor(s) is seeking to modify a mortgage secured by the debtor(s)'s principal residence.
Complete paragraph below.
iii ifapplicab|e, the debtor(s) will be requesting loss mitigation pursuant to Genera| Order #582.

The mortgage due to FarSrr\'ivi"g icreditor name) on the property known as
82 PhiladerphiaA\~enue.uassnequa under account number ending 1294 past four digits of account number} is in default
A|l arrears, including ali past due payments, late charges, escrow deficiency, legal fees and other expenses due
to the mortgagee totaling$ 173909.61 , may be capitalized pursuant to a loan modification. The new principal
balance, including capitalized arrears will be $299022.22 , and will be paid at _Si% interest amortized over

40 years with an estimated monthly payment of $ 3153.06 including interest and escrow of
$ 1000.00 . The estimated monthly payment shall be paid directly to the trustee while loss mitigation is
pending and until such time as the debtor(s) has commenced payment under a trial loan modification
Contemporaneous with the commencement of a trial loan modification the debtor(s) will amend the Chapter
13 P|an and Schedule l to reflect the terms ofthe trial agreement, including the direct payment to the secured
creditor going forward by the debtor(s).

 

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3.4: Request for valuation of security, payment of fully secured ciaims, and modification of
under-secured claims.

Checl< one.
iii None. if ”None” is checked the rest of §3.4 need not be corru)leteclk

T he remainder of this paragraph is only effective if the applicable box in Part 1 of this plan is
checked.

iii `lhe debtor(s) shall file a motion to determine the value of the secured claims listed below. Such claim
shall be paid pursuant to order of the court upon determination of such motion.

 

    

_____-'_Name_of__' -D`_- it-S`O'_g '_ : De$c_riptl_t_)li_of ` '_ValLie_ O_ff_._` ' TotalAmoun_t __'_§_'Arn'ount__of ` ___Amqn`m_-'_of-;'_
- -_ C_red|to,» ___ g--.-; `_ ___-_Collatera_l__ _":__- collateral -"__-ofCiairn- _` _-:Credito_r's__:;--_` _-j-"--_(_.`rediter's " _
'- '._. : _-. 'ACCt NO._ .. '- ..- . ':' '. - :-- ._._- '.' .' '. . : 'Secured_Claim'-' UnsecuredClalr‘n

 

 

 

 

 

 

 

 

 

 

 

a Continued on attached separate page{s}.

3.5: Secured claims on personal property excluded from 11 U.S.C. §506.

Checl< one.
lZi None. if ”None” is checked, the rest of §3.5 need not be completed
Cl The claims listed below were either:
o incurred within 910 days before the petition date and secured by a purchase money security
interest in a motor vehicle acquired for the personal use ofthe debtor(s); or
o incurred within 1 year of the petition date and secured by a purchase money security interest
in any other thing of value.
These claims will be paid pursuant to §3.1 and/or §3.2. (The claims must be referenced in those
sections as well.) Unless otherwise ordered by the court, the claim amount stated on a proof of claim
filed before the filing deadline under Bankruptcy Ruie 3002(c) controls over any contrary amount listed
below. in the absence of a contrary timely filed proof of claim, the amounts stated below are

controlling

 

-_'_;-:`-;'NameofCr_edito_r-'_-§`- L_ast'g'-tS-° ':'?_'_i:":'j-§-'_:-_'.';.§'Collaterai_-_-'1.3_':--':" AmountofCia-im' lint-crest iia-tel
- . " ' ofAcctNo. ___ -_ -- - -- - -- -- -

 

 

 

 

 

 

 

 

 

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3.6: Lien avoidance.

Checl< one.

El None. if ”None” ls checked, the rest of §3.6 need not be completed

The remainder of this paragrale is only effective if the applicable box in Part 1 of this plan is

ch ecked.

The debtor(s} shall file a motion to avoid the following judicial liens or nonpossessory, non~purchase

money security interests as the claims listed below impair exemptions to which the debtor(s) are
entitled under 11 U.S.C. §522(1)) or applicable state law. See 11 U.S.C. §522(f) and Banl<ruptcy Ru|e
4003(d). Such claim shall be paid pursuant to order ofthe court upon determination of such motlon.

 

inne@uneec

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jiyeiii
identification '

 

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_ " '-_Un`$ec_ured_ '_

Clalm ` ' `

 

 

 

 

 

 

 

 

 

 

 

Continued on attached separate page(s).

3.7: Surrender of collateral

Checl< one.

iE None. if ”None” is checked, the rest of §3.7 need not be completedl
l;i The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s
claim, The debtor(s) request that upon confirmation of this plan the stay under 11 U.S.C. §362(a) be

terminated as to the collateral only and that the stay under 11 U.S.C. §1301 be terminatedl Any timely

filed allowed unsecured claim resulting from the disposition of the collateral will be treated in Part 5

below.

 

-L_ast _4 D_lgit_s of_
-Acct No.

 

n di _E-Dé`§`c-r:i'p-tion bar Co[|atera| `- " ;§._1__:_.'_

 

 

 

 

 

 

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PART 4: TREATIV|ENT OF FEES AND PRiORlTY CLA|MS

4.1: Generai.

Trustee's fees and all allowed priority claims, including domestic support obligations other than those treated

in §4.5, will be paid in full without post-petition interest.

4.2: Trustee's fees.

Trustee's fees are governed by statute and may change during the course of the case.

4.3: Attorney's fees.

The balance of the fees owed to the attorney for the debtor(s) is $ 0.00 .

4.4: Priority claims other than attorney's fees and those treated in §4.5.

Checl< One.

Ei.i None. if ”None” is checked the rest of §4.4 need not be completed

Ei The debtor(s) intend to pay the following priority claims through the plan:

 

`Name ofCreditor'-""" " "

` '-"'fEstim"ated Claim Arnount 3 " "

 

 

 

 

 

m Continued on attached separate page{s).

4.5: Domestic support obligations

Check One.

El None. if ”None” is checked, the rest of §4.5 need not be completed
Cl The debtor(s) has a domestic support obligation and is current with this obligation Compiete table

below; do not fill in arrears amount
i.`_| The debtor(s) has a domestic support obligation that is not current and will be paying arrears through

t_h_e Plan. Complete table below.

 

___Da_te of

__Narn__e _of Recipient _O'rder--_

_:_Na_nie Of_'CQil-l_i j`f n

' Munih_ry oso__:-`_--
" Payment

fAmou:n_t_of Arre_ars to be `
' Paid through Plan, if Any

 

 

 

 

 

 

 

 

 

 

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PART 5: TREATN|ENT OF NONPR|ORITY UNSECURED CLA|IVIS
A|iowed nonpriority unsecured claims will be paid pro rata:

iI| Not less than the sum of '$
E:] Not less than 100 % of the total amount of these claims.
ill From the funds remaining after disbursement have been made to all other creditors provided for in
this plan.
|f more than one option is checked, the option providing the largest payment will be effective

 

PART 6: EXECUTORY CONTRACTS AND UNEXP|RED LEASES

6.1: The executory contracts and unexpired leases listed below are assumed and will be treated as
specified. Ali other executory contracts and unexpired leases are rejected.

Check one.
iii None. if ”None” is checked the rest of§6,1 need not be completed
i.`.l Assumecl items. Current installment payments will be paid directly by the debtor(s) as specified
below, subject to any contrary court order or ru|e. Arrearage payments will be disbursed by the
trustee.

 

'f' . '."'Descri 'tion of i;e`ased Pro ert or`_ `. ` ` ' `2' ` " ' - ` "
___ _ ___Name_ of Cred_tor__ __ _p_ __ __ _ ____ __ __ __ _p _____V_ __ _Cvr_re_n_tlnstaiimen_t__ Amount_ofArrea_rage
_. _- . -- -- -- Executory Contract- -- _Pavmentvae_btor- to be Paid blr-Trustee

 

 

 

 

 

 

 

 

 

PART 7: VESTING OF PROPERTY OF THE ESTATE

Unless otherwise provided in the Order of Conflrmation, property of the estate will vest in the
debtor(s) upon completion of the pian.

PART 8: POST~PET|T|ON OBLlGATlONS

8.1: Post~petition mortgage payments, vehicle payments, real estate taxes, and domestic support
obligations are to be made directly by the debtor(s) unless otherwise provided for in the plan.

8.2: Throughout the term of this Plan, the debtor(s) will not incur post-petition debt over $2,500.00
without written consent of the Trustee or by order of the Court.

 

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PAR'l' 9: NONSTANDARD PLAN PROV|S|ONS
9.1: Checir ”l\ione” or list nonstandard plan provisions.
E] None. if ”None" is checked, the rest of §9.1 need not be completed

Under Bonlcruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a
provision not otherwise included in the form plan or deviating from it. Nonstandard provisions set out
elsewhere in this plan are ineffective

The following plan provisions will be effective only if there is a check in the box ”lncluded” in §I.I(c).

 

 

 

 

PART 10: CER`l'ii:lCAT|ON AND S|GNATURE{S):

10.1: l/we do hereby certify that this plan does not contain any nonstandard provisions other than
those set out in the final paragraph

lS/ Ma\'la DeRosa

 

Signature of Debtor 1 Signature of Debtor 2
Dated: May 25, 2018 Dated:

Anthonv M. Vnssailo
Signature of Attorney for Debtor(s)

i)ated: May 25, 2l]l8

 

